                      Case 18-31273 Document 1 Filed in TXSB on 03/14/18 Page 1 of 21

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)
                                                                                                                               ☐ Check if this is an
Case number (if known):                                       Chapter   11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/16
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               iHeartCommunications, Inc.


                                                 Clear Channel Communications, Inc.
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                              Mailing address, if different from principal place
                                                                                                   of business
                                          20880 Stone Oak Parkway
                                          Number          Street                                   Number          Street


                                                                                                   P.O. Box

                                          San Antonio, Texas 78258
                                          City                          State     Zip Code         City                          State        Zip Code

                                                                                                   Location of principal assets, if different from
                                                                                                   principal place of business
                                          Bexar County
                                          County                                                   Number          Street




                                                                                                   City                          State        Zip Code




5. Debtor’s website (URL)                 iHeartMedia.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:
                      Case 18-31273 Document 1 Filed in TXSB on 03/14/18 Page 2 of 21
Debtor            iHeartCommunications, Inc.                                          Case number (if known)
           Name



                                               A. Check One:
7.   Describe debtor’s business
                                               ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                               ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                               ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                               ☒ None of the above

                                               B. Check all that apply:

                                               ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                  § 80a-3)

                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               5151 (Radio and Television Broadcasting)

8. Under which chapter of the                  Check One:
   Bankruptcy Code is the
   debtor filing?                              ☐ Chapter 7

                                               ☐ Chapter 9

                                               ☒ Chapter 11. Check all that apply:

                                                                 ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                   4/01/19 and every 3 years after that).

                                                                 ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                   debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                   of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                   documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                 ☐ A plan is being filed with this petition.

                                                                 ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                 ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                   Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                 ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.

                                               ☐ Chapter 12
9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.         District                           When                      Case number
   within the last 8 years?                                                                       MM/DD/YYYY
     If more than 2 cases, attach a                   District                           When                      Case number
     separate list.                                                                               MM/DD/YYYY

10. Are any bankruptcy cases            ☐ No
    pending or being filed by a                                                                                    Relationship     Affiliate
                                        ☒ Yes.        Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                          District    Southern District of Texas
     List all cases. If more than 1,                                                                               When             03/14/2018
     attach a separate list.                         Case number, if known _______________________                                  MM / DD / YYYY

     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                    Case 18-31273 Document 1 Filed in TXSB on 03/14/18 Page 3 of 21
Debtor           iHeartCommunications, Inc.                                          Case number (if known)
          Name



11. Why is the case filed in this      Check all that apply:
    district?
                                       ☒      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                       ☐      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                   ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                        safety.
                                                        What is the hazard?

                                                   ☐    It needs to be physically secured or protected from the weather.

                                                   ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                   ☐    Other


                                                   Where is the property?
                                                                                        Number          Street



                                                                                        City                                  State       Zip Code



                                                   Is the property insured?

                                                   ☐ No

                                                   ☐ Yes.     Insurance agency
                                                              Contact name
                                                              Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐       1-49                      ☐      1,000-5,000                        ☐    25,001-50,000
    creditors (on a                   ☐       50-99                     ☐      5,001-10,000                       ☒    50,001-100,000
    consolidated basis)
                                      ☐       100-199                   ☐      10,001-25,000                      ☐    More than 100,000
                                      ☐       200-999



15. Estimated assets (on a            ☐       $0-$50,000                ☐      $1,000,001-$10 million              ☐   $500,000,001-$1 billion
    consolidated basis)               ☐       $50,001-$100,000          ☐      $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000         ☐      $50,000,001-$100 million            ☒   $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million       ☐      $100,000,001-$500 million           ☐   More than $50 billion




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                    Case 18-31273 Document 1 Filed in TXSB on 03/14/18 Page 4 of 21
Debtor           iHeartCommunications, Inc.                                          Case number (if known)
          Name



16. Estimated liabilities (on        ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    a consolidated basis)            ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☒    $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐    More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on            03/14/2018
                                                              MM/ DD / YYYY


                                              /s/ Brian Coleman                                                  Brian Coleman
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Authorized Signatory




18. Signature of attorney                     /s/ Patricia B. Tomasco                                        Date        03/14/2018
                                              Signature of attorney for debtor                                           MM/DD/YYYY



                                              Patricia B. Tomasco
                                              Printed name
                                              Jackson Walker L.L.P.
                                              Firm name
                                              1401 McKinney Street, Suite 1900
                                              Number                 Street
                                              Houston                                                                Texas             77010
                                              City                                                                   State               ZIP Code
                                              (713) 752-4200                                                         ptomasco@jw.com
                                              Contact phone                                                              Email address
                                              01797600                                                Texas
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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Official Form 201A (12/15)

                                          IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE DISTRICT OF TEXAS
                                                     HOUSTON DIVISION

                                                                                        )
       In re:                                                                           ) Chapter 11
                                                                                        )
       IHEARTCOMMUNICATIONS, INC.,                                                      ) Case No. 18-[_____] (___)
                                                                                        )
                                        Debtors.                                        )
                                                                                        )
           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

                1.    If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
                      number is: 001-09645

                2.    The following financial data is the latest available information and refers to the debtor’s condition on
                      November 6, 2017

                                                                                        12,257,260,000 (on a consolidated
                (a)   Total assets                                                  $   basis)
                                                                                        20,328,500,000 (on a consolidated
                (b)   Total debts (including debts listed in 2.c., below)           $   basis)
                (c)   Debt securities held by more than 500 holders
                                                                                                                        Approximate
                                                                                                                        number of
                                                                                                                        holders:
                secured          unsecured          subordinated
                            ☐                  ☐                      ☐      $
                secured          unsecured          subordinated
                            ☐                  ☐                      ☐      $
                secured          unsecured          subordinated
                            ☐                  ☐                      ☐      $
                secured          unsecured          subordinated
                            ☐                  ☐                      ☐      $
                secured          unsecured          subordinated
                            ☐                  ☐                      ☐      $


                (d)   Number of shares of preferred stock                                                               0
                (e)   Number of shares of common stock                                                                  500,000,000


               Comments, if any:        iHeartCommunications, Inc. does not and cannot know the precise number of beneficial holders of any
         of the debt securities it has issued and does not believe that any such securities are held by more than 500 holders.



                3.    Brief description of debtor’s business:   iHeartCommunications, Inc. is a subsidiary of iHeartMedia, Inc., one of the
                                                                leading global media and entertainment companies. The company
                                                                specializes in radio, digital, outdoor, mobile, social, live events, on-
                                                                demand entertainment and information services for local communities,
                                                                and uses its unparalleled national reach to target both nationally and
                                                                locally on behalf of its advertising partners.

                4.
                 List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
                 voting securities of debtor:
         iHeartMedia Capital I, LLC
                 Case 18-31273 Document 1 Filed in TXSB on 03/14/18 Page 6 of 21




 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                           Southern District of Texas
                                       (State)
                                                                                                           ☐ Check if this is an
 Case number (if known):                                Chapter   11                                           amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of iHeartMedia, Inc.

                  iHeartMedia, Inc.                                    Clear Channel Metro, LLC
                  AMFM Broadcasting Licenses, LLC                      Clear Channel Mexico Holdings, Inc.
                  AMFM Broadcasting, Inc.                              Clear Channel Real Estate, LLC
                  AMFM Operating, Inc.                                 Critical Mass Media, Inc.
                  AMFM Radio Licenses, LLC                             iHeartCommunications, Inc.
                  AMFM Texas Broadcasting, LP                          iHeartMedia + Entertainment, Inc.
                  AMFM Texas Licenses, LLC                             iHeartMedia Capital I, LLC
                  AMFM Texas, LLC                                      iHeartMedia Capital II, LLC
                  Capstar Radio Operating Company                      iHeartMedia Management Services, Inc.
                  Capstar TX, LLC                                      iHM Identity, Inc.
                  CC Broadcast Holdings, Inc.                          Katz Communications, Inc.
                  CC Finco Holdings, LLC                               Katz Media Group, Inc.
                  CC Licenses, LLC                                     Katz Millennium Sales & Marketing, Inc.
                  Christal Radio Sales, Inc.                           Katz Net Radio Sales, Inc.
                  Cine Guarantors II, Inc.                             M Street Corporation
                  Citicasters Co.                                      Premiere Networks, Inc.
                  Citicasters Licenses, Inc.                           Terrestrial RF Licensing, Inc.
                  Clear Channel Broadcasting Licenses, Inc.            TTWN Media Networks, LLC
                  Clear Channel Holdings, Inc.                         TTWN Networks, LLC
                  Clear Channel Investments, Inc.
             Case 18-31273 Document 1 Filed in TXSB on 03/14/18 Page 7 of 21



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                         )
    In re:                                               )      Chapter 11
                                                         )
    IHEARTCOMMUNICATIONS, INC.,                          )      Case No. 18-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS1

             Debtor                Equity Holders              Address of Equity Holder       Percentage of
                                                                                               Equity Held
    iHeartCommunications,                                    20880 Stone Oak Parkway,
                               iHeart Capital I, LLC                                               100%
    Inc.                                                     San Antonio, Texas 78258




1      This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
       Rules of Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the
       chapter 11 case.
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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                        )
    In re:                                              )     Chapter 11
                                                        )
    IHEARTCOMMUNICATIONS, INC.,                         )     Case No. 18-___________(___)
                                                        )
                            Debtor.                     )
                                                        )

                                     CORPORATE OWNERSHIP STATEMENT2

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                        Shareholder                           Approximate Percentage of Shares Held

        iHeartMedia Capital I, LLC                                                 100%




2      Please see the voluntary petition of iHeartMedia, Inc., filed contemporaneously with this voluntary
       petition, for more information on the indirect holders of the Debtors’ equity securities.
                 Case 18-31273 Document 1 Filed in TXSB on 03/14/18 Page 9 of 21



    Fill in this information to identify the case and this filing:

   Debtor Name          iHeartCommunications, Inc.

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                      List of Equity Security Holders and Corporate Ownership
            Statement



    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Brian Coleman
                                        03/14/2018
                                        MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                 Brian Coleman
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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     Fill in this information to identify the case:

     Debtor name        iHeartMedia, Inc., et al.

     United States Bankruptcy Court for the:     Southern District of Texas                                                                Check if this is an
     Case number (If known):                                                            (State)                                                amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                     12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
    debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
    include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among
    the holders of the 30 largest unsecured claims. 1

                                                                                                                                          Amount of claim
                                                                                    Nature of claim                            If the claim is fully unsecured, fill in only
                                                                                                                             unsecured claim amount. If claim is partially
                                                                                     (for example,        Indicate if      secured, fill in total claim amount and deduction
      Name of creditor and
                                                                                      trade debts,         claim is           for value of collateral or setoff to calculate
        complete mailing           Name, telephone number and email address
                                                                                      bank loans,        contingent,                         unsecured claim.
      address, including zip                   of creditor contact
                                                                                      professional      unliquidated,
              code                                                                                                                      Deduction
                                                                                     services, and       or disputed        Total
                                                                                                                                          for value
                                                                                      government                          claim, if
                                                                                                                                              of           Unsecured Claim
                                                                                       contracts)                         partially
                                                                                                                                         collateral
                                                                                                                          secured
                                                                                                                                          or setoff
  Law Debenture Trust             ATTN: James Heaney
  Company                         PHONE - 212-750-6474
                                                                                     14% Senior
1 400 Madison Avenue              FAX - 212-750-1361                                                                                                   $ 1,917,884,276.55
                                                                                     Note - 2021
  New York, NY                    EMAIL -
  10017                           james.Heaney@LAWDEB.com
                                  ATTN: Moses Ballenger
  BNY Mellon
                                  PHONE - 713-483-6674
  601 Travis Street,                                                                7.25% Senior
2                                 FAX - 713-483-6979                                                                                                    $ 309,062,500.00
  16th Floor Houston                                                                 Note - 2027
                                  EMAIL -
  Houston, TX 77002
                                  mosestidwell.ballenger@bnymellon.com
                                  ATTN: Moses Ballenger
  BNY Mellon
                                  PHONE - 713-483-6674
  601 Travis Street,                                                                6.875% Senior
3                                 FAX - 713-483-6979                                                                                                    $ 178,007,812.50
  16th Floor Houston                                                                 Note - 2018
                                  EMAIL -
  Houston, TX 77002
                                  mosestidwell.ballenger@bnymellon.com
                                  ATTN: Carol Hanley
  Nielsen
                                  Executive Vice President of Sales and
  85 Broad St
4                                 Marketing                                         Trade Payable       Unliquidated                                    $ 20,874,637.87
  New York, NY
                                  PHONE - 212-887-1300
  10004
                                  FAX - 212-887-1375
    Creditor 1                                                                        Contract
5                                                                                                                                                       $ 19,288,388.23
    Address on File                                                                  Counterparty       Unliquidated




            1      The following list excludes deficiency claims arising under the Debtors’ funded debt documents as well as amounts of funded debt claims in the
                   Debtors held by other Debtors.
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                                                                                                                            Amount of claim
                                                                          Nature of claim                        If the claim is fully unsecured, fill in only
                                                                                                               unsecured claim amount. If claim is partially
                                                                           (for example,      Indicate if    secured, fill in total claim amount and deduction
      Name of creditor and
                                                                            trade debts,       claim is         for value of collateral or setoff to calculate
        complete mailing       Name, telephone number and email address
                                                                            bank loans,      contingent,                       unsecured claim.
      address, including zip               of creditor contact
                                                                            professional    unliquidated,
              code                                                                                                        Deduction
                                                                           services, and     or disputed      Total
                                                                                                                            for value
                                                                            government                      claim, if
                                                                                                                                of           Unsecured Claim
                                                                             contracts)                     partially
                                                                                                                           collateral
                                                                                                            secured
                                                                                                                            or setoff
     Icon International Inc    ATTN: Gary Perlman
     107 Elm St                General Counsel
6                                                                         Trade Payable     Unliquidated                                   $ 6,875,986.75
     4 Stamford Plaza          PHONE - 203-328-2300
     Stamford, CT 06902        FAX - 203-328-2333
     SoundExchange Inc         ATTN: Michael Huppe
     733 10th St NW FL10       President and Chief Executive Officer       Estimated
7                                                                                           Unliquidated                                   $ 6,427,603.00
     Washington, DC            PHONE - 202-640-5858                       Royalty Fees
     20001-4888                FAX - 202-640-5859
     Cumulus Media, Inc.       ATTN: Mary G. Berner
     3280 Peachtree Rd         Chief Executive Officer
8                                                                         Trade Payable     Unliquidated                                   $ 5,611,618.45
     NW                        PHONE - 404-949-0700
     Atlanta, GA 30305         FAX - 404-949-0740
     Cox Enterprises, Inc.     ATTN: James C. Kennedy
     2445 Baltimore Blvd       Chief Executive Officer                     Contract
9                                                                                           Unliquidated                                   $ 5,076,283.04
     Finksburg, MD             PHONE - 678-645-0000                       Counterparty
     21048                     FAX - 678-645-5002
     Warner Music Group        ATTN: Stephen F. Cooper
     Services                  Chief Executive Officer                     Estimated
10                                                                                          Unliquidated                                   $ 3,904,093.47
     3400 W Olive Ave          PHONE - 212-275-2000                       Royalty Fees
     Burbank, CA 91505         EMAIL - steve.cooper@wmg.com
     CBS1271 Avenue of
                               ATTN: Leslie MoonvesChairman and
     the Americas44th
11                             Chief Executive OfficerPHONE - 212-        Trade Payable     Unliquidated                                   $ 3,282,369.61
     FloorNew York, NY
                               649-9600FAX - 212-846-2790
     10020
     Salesforce Com Inc
     The Landmark @ One
                               ATTN: Amy Weaver
     Market
                               President, Legal and General Counsel
12   Suite 300                                                            Trade Payable                                                    $ 2,508,968.14
                               PHONE: 415-901-7000
     San Francisco, CA
                               FAX: 415-901-7040
     94105

     Hubbard Broadcasting
                               ATTN: Dan Seeman
     225 South Sixth Street
                               Vice President and Market Manager
13   Suite 3500                                                           Trade Payable     Unliquidated                                   $ 2,375,026.12
                               PHONE - 651-642-4656
     Minneapolis, MN
                               FAX - 651-647-2932
     55402
     Vertical Bridge
     Acquisitions, LLC         ATTN: Joe Meleski
     750 Park of               Vice President of Broadcast Towers
                                                                             Lease
14   Commerce Drive,           Leasing                                                                                                     $ 2,229,901.40
                                                                          Counterparty
     Suite 200                 PHONE - 812-430-3551
     Boca Raton, FL            EMAIL - ghess@verticalbridge.com
     33487
     Creditor 2                                                             Deferred
15                                                                                                                                         $ 2,054,517.54
     Address on File                                                      Compensation
     Spotify USA, Inc.
                               ATTN: Horacio Gutierrez
     45 W. 18th Street
                               General Counsel and Vice President,
16   7th Floor                                                            Trade Payable                                                    $ 2,010,511.11
                               Business & Legal Affairs
     New York, NY
                               PHONE - 646-837-5380
     10011


                                                                              2
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                                                                                                                            Amount of claim
                                                                          Nature of claim                        If the claim is fully unsecured, fill in only
                                                                                                               unsecured claim amount. If claim is partially
                                                                           (for example,      Indicate if    secured, fill in total claim amount and deduction
      Name of creditor and
                                                                            trade debts,       claim is         for value of collateral or setoff to calculate
        complete mailing       Name, telephone number and email address
                                                                            bank loans,      contingent,                       unsecured claim.
      address, including zip               of creditor contact
                                                                            professional    unliquidated,
              code                                                                                                        Deduction
                                                                           services, and     or disputed      Total
                                                                                                                            for value
                                                                            government                      claim, if
                                                                                                                                of           Unsecured Claim
                                                                             contracts)                     partially
                                                                                                                           collateral
                                                                                                            secured
                                                                                                                            or setoff
   Global Music Rights
   1100 Glendon Ave
                               ATTN: Susan Genco
17 Ste 2000                                                               Licensing Fees    Unliquidated                                   $ 2,000,000.00
                               EMAIL - susan@globalmusicrights.com
   Los Angeles, CA
   90024
   Creditor 3
                                                                           Contract
18 Address on File                                                                          Unliquidated                                   $ 1,951,446.78
                                                                          Counterparty
     Adswizz
                               ATTN: Bill Feichtmann
     487 A S El Camino
                               Chief Financial Officer
19   Real                                                                 Trade Payable     Unliquidated                                   $ 1,869,151.88
                               PHONE - 408-896-4685
     San Mateo, CA
                               EMAIL - Bill.feichtmann@adswizz.com
     94402
     Ando Media LLC
     15303 Ventura             ATTN: Neal Schore
20   Boulevard # 1500          Chief Executive Officer                    Trade Payable                                                    $ 1,609,567.22
     Sherman Oaks, CA          PHONE - 514-448-4037
     91403
     Univision
     Communications,           ATTN: Jonathan SchwartzChief Legal
21   Inc.5801 Truxtun          and Corporate Affairs OfficerPHONE -       Trade Payable     Unliquidated                                   $ 1,603,620.75
     AveBakersfield, CA        212-455-5200FAX - 646-964-6681
     93309
     Beasley Broadcast
                               ATTN: Caroline Beasley
     Group
                               Chief Executive Officer
22   3033 Riviera Dr Ste                                                  Trade Payable     Unliquidated                                   $ 1,501,942.90
                               PHONE - 239-263-5000
     200
                               FAX - 239-263-8191
     Naples, FL 34103
                               ATTN: Elizabeth Matthews
     ASCAP
                               Chief Executive Officer
23   21678 Network Pl                                                     Licensing Fees    Unliquidated                                   $ 1,495,890.41
                               PHONE - 212-621-6000
     Chicago, IL 60673
                               FAX - 212-621-8453
   Broadcast Music Inc.
                               ATTN: Michael O’Neill
   10 Music Square East
24                             President & Chief Executive Officer        Licensing Fees    Unliquidated                                   $ 1,426,849.32
   Nashville, TN 37203-
                               PHONE - 212-220-3000
   4399
   Urban One Inc.
   1010 Wayne Ave 14th         ATTN: Alfred C. Liggins, III
25 Fl                          Chief Executive Officer                    Trade Payable     Unliquidated                                   $ 1,358,691.73
   Silver Spring, MD           PHONE - 301-429-3200
   20910
   ReelWorld
                               ATTN: Craig Wallace
   Productions Inc
                               Chief Experience Officer
26 2214 Queen Anne                                                        Trade Payable     Unliquidated                                   $ 1,344,728.81
                               PHONE - 206-448-1518
   Ave N
                               EMAIL - craig.wallace@reelworld.com
   Seattle, WA 98109




                                                                              3
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                                                                                                                            Amount of claim
                                                                          Nature of claim                        If the claim is fully unsecured, fill in only
                                                                                                               unsecured claim amount. If claim is partially
                                                                           (for example,      Indicate if    secured, fill in total claim amount and deduction
      Name of creditor and
                                                                            trade debts,       claim is         for value of collateral or setoff to calculate
        complete mailing       Name, telephone number and email address
                                                                            bank loans,      contingent,                       unsecured claim.
      address, including zip               of creditor contact
                                                                            professional    unliquidated,
              code                                                                                                        Deduction
                                                                           services, and     or disputed      Total
                                                                                                                            for value
                                                                            government                      claim, if
                                                                                                                                of           Unsecured Claim
                                                                             contracts)                     partially
                                                                                                                           collateral
                                                                                                            secured
                                                                                                                            or setoff
     Universal Music
                               ATTN: Lucian Grainge
     Group Inc
                               Chief Executive Officer
     825 8th Ave 28th                                                      Estimated
27                             PHONE - 310-865-5000                                         Unliquidated                                   $ 1,313,118.93
     Floor                                                                Royalty Fees
                               FAX - 310-865-7096
     New York, NY
                               EMAIL - lucian.grainge@umusic.com
     10019
     Futuri Media
     4141 Rockside Rd Ste      ATTN: Daniel Anstandig
28   300                       Chief Executive Officer                    Trade Payable     Unliquidated                                   $ 1,223,681.57
     Seven Hills, OH           PHONE - 877-221-7979
     44131
     TomTom North
     America Inc               ATTN: Senior Legal Counsel
29   11 Lafayette St           PHONE - 603-643-0330                       Trade Payable                                                    $ 1,173,408.44
     Lebanon, NH 03766-        FAX - 603-653-0249
     1445
     Sun & Fun Media
                               ATTN: Roger C. Fray
     1315 S International
                               Chief Executive Officer
30   Pkwy, Ste 1131                                                       Trade Payable     Unliquidated                                   $ 1,137,486.08
                               PHONE - 407-328-0505
     Lake Mary, FL
                               EMAIL - roger@sunfunmedia.com
     32746




                                                                              4
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                                  OFFICER’S CERTIFICATE

                                          March 14, 2018

        I, Lauren E. Dean, hereby certify that I am the Assistant Secretary of each of the entities
listed on Schedules i through 9 and the Assistant Secretary of the General Partner of the entity
listed on Schedule 10, in each case as attached to Exhibit A attached hereto (each, a “Company”
and collectively, the “Companies”), and do hereby certify solely on behalf of that Company and
not in my individual capacity, that attached hereto as Exhibit A is a true, correct, and complete
copy of the resolutions duly adopted by the board of directors, members of the board of managers,
and sole members (each referred to herein as the “Board”), as applicable, of each Company. Such
resolutions are the only resolutions relating thereto and have not been amended, rescinded,
modified, or revoked since the date of adoption thereof, and are in full force and effect on the date
hereof.
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        IN WITNESS WHEREOF, the undersigned has executed this certificate as of March 14,
2018.




                                                                 ren E. Dean
                                                       Title: Assistant Secretary
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                           EXHIBIT A
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                                   OMNIBUS RESOLUTION

                                         March 14, 2018

       The members of the board of directors, members of the board of managers, and sole
members (each referred to herein as the “Board”), as applicable, of each of the entities listed on
Schedules I through 10 attached hereto (each, a “Company” and collectively, the “Companies”),
hereby take the following actions and adopt the following resolutions pursuant to the bylaws,
operating agreement or limited liability company agreement, as applicable, of each Company and
the applicable laws of the jurisdiction in which such Company is organized:


1. CHAPTER 11 FILING

    WHEREAS, on March 14, 2018, the Board of each of the entities listed on Schedules 1
through 10 attached hereto has reviewed and considered certain materials presented by the
management of its Company and its Company’s financial and legal advisors, including, but not
limited to, materials regarding the liabilities and obligations of such Company, its liquidity,
strategic alternatives available to it, and the effect of the foregoing on such Company’s business,
and has had adequate opportunity to consult such persons regarding the materials presented, obtain
additional information, and to fully consider each of the strategic alternatives available to each
Company;

    WHEREAS, the Board has had the opportunity to consult with the Company’s management,
and the financial and legal advisors and fully consider each of the strategic alternatives available
to the Company.

       NOW, THEREFORE, BE IT,

       RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
the Company, its creditors, and other parties in interest, that the Company shall be and hereby are
authorized to file or cause to be filed voluntary petitions for relief (the “Chapter 11 Case”) under
the provisions of Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) in a
court of proper jurisdiction (the “Bankruptcy Court”); and

       FURTHER RESOLVED, that the Company’s appointed officers (collectively,
the “Authorized Signatories”), acting alone or with one or more other Authorized Signatories be,
and each of them hereby is authorized, empowered and directed to execute and file on behalf of
the Company all petitions, schedules, lists, and other motions, papers, or documents as necessary
to commence the Chapter 11 Case and obtain chapter 11 relief, and to take any and all action that
they deem necessary or proper to obtain such relief, including, without limitation, any action
necessary to maintain the ordinary course operation of the Company’s businesses.

2. RETENTION OF PROFESSIONALS

       FURTHER RESOLVED, that each of the Authorized Signatories of each Company, be,
and hereby is, authorized and empowered to employ: (i) the law firm of Kirkland & Ellis LLP as
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bankruptcy counsel, (ii) the law firm of Munger, Tolies & Olson LLP as counsel to the Company
acting at the direction of the Company’s independent directors with respect to certain conflict
matters as detailed in their engagement letter, (iii) Moelis & Company as financial advisor,
(iv) Perella Weinberg Partners L.P. as financial advisor to the Company acting at the direction of
the Company’s independent directors with respect to certain conflict matters as detailed in their
engagement letter, (v) Alvarez & Marsal as restructuring advisor, (vi) Prime Clerk LLC as notice
and claims agent, (vii) the law firm of Jackson Walker L.L.P. as local bankruptcy counsel, and
(viii) any other legal counsel, accountants, financial advisors, restructuring advisors or other
professionals such Authorized Signatories deems necessary, appropriate or advisable; each to
represent and assist such Company in carrying out its duties and responsibilities and exercising its
rights under the applicable bankruptcy laws (including, but not limited to, the law firms filing any
pleadings or responses); and in connection therewith, each of such Authorized Signatories be, and
hereby are, authorized and empowered, in accordance with the terms and conditions hereof, to
execute appropriate engagement letters, retention agreements, pay appropriate retainers, and to
cause to be filed appropriate applications for authority to retain such services.

3. CASH COLLATERAL AND ADEQUATE PROTECTION

       NOW, THEREFORE, BE IT,

       RESOLVED, that the Company will obtain benefits from the use of collateral, including
cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash
Collateral”), which is security for certain prepetition lenders (collectively, the “Prepetition
Lenders”).

        FURTHER RESOLVED, that in order to use and obtain the benefits of the Cash
Collateral, and in accordance with section 363 of the Bankruptcy Code, the Company will provide
certain adequate protection to the prepetition lenders (the “Adequate Protection Obligations”), as
documented in a proposed interim order (the “Interim Cash Collateral Order”) and submitted for
approval to the Bankruptcy Court.

        FURTHER RESOLVED, that the Company, as debtor and debtor in possession under the
Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations and
to undertake any and all related transactions on substantially the same terms as contemplated under
the Interim Cash Collateral Order.

4. GENERAL

       NOW, THEREFORE, BE IT,

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates) be,
and they hereby are, authorized and empowered, in the name of and on behalf of the Company, to
take or cause to be taken any and all such other and further action to: execute, acknowledge,
deliver, and file any and all such agreements, certificates, instruments, and other documents; and
pay all expenses, including but not limited to filing fees, in each case as in such officer’s or
officers’ judgment, shall be necessary, advisable, or desirable in order to fully carry out the intent
and accomplish the purposes of the resolutions adopted herein;
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        FURTHER RESOLVED, that each of the Authorized Signatories be, and they hereby are,
authorized and empowered to take or cause to be taken in the name and on behalf of the Company,
any and all such other and further action to carry out the intent and accomplish the purposes of the
resolutions adopted herein as such purposes relate to the Company.

        FURTHER RESOLVED, that the Board has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the organizational documents of the Company, or hereby waive any right to have received such
notice;

        FURTHER RESOLVED, that all acts, actions and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Company with the same force and effect as if each such act,
transaction, agreement or certificate has been specifically authorized in advance by resolution of
the Boards; and

        FURTHER RESOLVED, that each of the Authorized Signatories (and their designees
and delegates) be and hereby is authorized and empowered to take all actions or to not take any
action in the name of the Company with respect to the transactions contemplated by these
resolutions hereunder as the sole shareholder, partner, member, or managing member of each
direct subsidiary of the Company, in each case, as such Authorized Signatory shall deem necessary
or desirable in such Authorized Signatory’s reasonable business judgment as may be necessary or
convenient to effectuate the purposes of the transactions contemplated herein.
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                                          Schedule 1

1. iHeartMedia, Inc., a Delaware corporation

                                          Schedule 2

1. iHeartMedia Capital II, LLC, a Delaware limited liability company.

                                          Schedule 3

1. iHeartCommunications, Inc., a Texas corporation.

                                          Schedule 4

1. iHeartMedia Capital I, LLC, a Delaware limited liability company.

                                          Schedule 5

1.    AMFM Broadcasting, Inc., a Delaware corporation.
2.    AMFM Operating Inc., a Delaware corporation.
3.    Capstar Radio Operating Company, a Delaware corporation.
4.    CC Broadcast Holdings, Inc., a Nevada corporation.
5.    Christal Radio Sales, Inc., a Delaware corporation.
6.    Cine Guarantors II, Inc., a California corporation.
7.    Citicasters Co., an Ohio corporation.
8.    Citicasters Licenses, Inc., a Texas corporation.
9.    Clear Channel Broadcasting Licenses, Inc., a Nevada corporation.
10.   iHeart Media + Entertainment, Inc., a Nevada corporation.
11.   Clear Channel Holdings, Inc., a Nevada corporation.
12.   iHM Identity, Inc., a Texas corporation.
13.   Clear Channel Investments, Inc., a Nevada corporation.
14.   iHeartMedia Managements Services, Inc., a Texas corporation.
15.   Clear Channel Mexico Holdings, Inc., a Nevada corporation.
16.   Critical Mass Media, Inc., an Ohio corporation.
17.   Katz Communications, Inc., a Delaware corporation.
18.   Katz Media Group, Inc., a Delaware corporation.
19.   Katz Millennium Sales & Marketing Inc., a Delaware corporation.
20.   Katz Net Radio Sales, Inc., a Delaware corporation.
21.   M Street Corporation, a Washington corporation.
22.   Premiere Networks, Inc., a Delaware corporation.
23.   Terrestrial RF Licensing, Inc., a Nevada corporation.
24.   TTWN Networks, LLC, a Delaware limited liability company.
25.   AMFM Broadcasting Licenses, LLC, a Delaware limited liability company.
26.   AMFM Texas Licenses, LLC, a Delaware limited liability company.
27.   Capstar TX, LLC, a Texas limited liability company.
28.   CC Licenses, LLC, a Delaware limited liability company.
29.   Clear Channel Real Estate, LLC, a Delaware limited liability company.
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                                        Schedule 6

1. CC Finco Holdings, LLC, a Delaware limited liability company.
2. Clear Channel Metro, LLC, a Delaware limited liability company.


                                        Schedule 7

1. AMFM Texas, LLC, a Delaware limited liability company.

                                        Schedule 8

1. AMFM Radio Licenses, LLC, a Delaware limited liability company.


                                        Schedule 9

1. TTWN Media Networks, LLC, a Maryland limited liability company.

                                        Schedule 10

1. AMFM Texas Broadcasting, LP, a Delaware limited partnership.
